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                           IN THE UNITED STATES DISTRICT
                             COURT FOR THE DISTRICT OF
                                     COLORADO


  Civil Action No. 24-cv-183-CNS-NRN

  BRENDA GONZALEZ,
         Plaintiff,

  v.

  JPMORGAN CHASE BANK, N.A.,

       Defendant.
  ____________________________________________________________________

             STIPULATION FOR EXTENSION OF TIME TO RESPOND
   TO INTERROGATORIES, REQUESTS FOR PRODUCTION OF DOCUMENTS, AND
                        REQUESTS FOR ADMISSIONS.
  ____________________________________________________________________

        Pursuant to D.C.COLO.LCivR 6.1(a), Plaintiff Brenda Gonzalez (“Plaintiff”) and

  Defendant JPMorgan Chase Bank, N.A. (“Defendant”) (collectively the “Parties”), by and

  through their respective counsel, agree and stipulate to extend the deadline for

  Defendant to respond to Plaintiff’s First Set of Interrogatories, Requests for Production

  of Documents, and Requests for Admission, and state as follows:

        1. Plaintiff served its first set of written discovery requests on May 9, 2024,

  making Defendant’s responses due by June 10, 2024.

        2. D.C.COLO.LCivR 6.1(a) provides that “[t]he parties may stipulate in writing to

  one extension of not more than 21 days beyond the time limits prescribed by the

  Federal Rules of Civil Procedure to respond to … interrogatories, requests for

  production of documents, or requests for admissions.”
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          3. The Parties have agreed to a 21-day extension of time for Defendant to

  respond to Plaintiff’s first set of written discovery requests, up to and including July 1,

  2024.

          4. The extension is sought in good faith and no prejudice will result to the

  Parties as a result of this Stipulation.

          5. Pursuant to D.C.COLO.LCivR 6.1(c), a copy of this Stipulation will be served

  contemporaneously by undersigned counsel on their respective clients.

          WHEREFORE, pursuant to D.C.COLO.LCivR 6.1(a), Defendant’s deadline to

  respond to Plaintiff’s first set of interrogatories, requests for production of documents,

  and requests for admission is extended by 21 days, up to and including July 1, 2024,

  unless otherwise ordered by the Court.

  DATED this 10th day of June, 2024.


  /s/ Daniel Vedra                             /s/ John A. Wharton
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